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 8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
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      MILAN KUNWAR,                                   Case No: 5:17-cv-04849-LHK

11           Plaintiff,                               Assigned to Hon. Lucy H. Koh
12    v.                                         ORDER DISMISSING CAPITAL ONE,
                                                           NATIONAL
13    CAPITAL ONE, NATIONAL                       ASSOCIATION WITH PREJUDICE
14
      ASSOCIATION and EQUIFAX
      INFORMATION SERVICES, LLC,
15
             Defendants.
16

17          The Court having considered the Stipulation to Dismiss Capital One, National
18   Association with Prejudice and good cause appearing,
19          IT IS ORDERED that this action is dismissed with prejudice as to Defendant
20   Capital One, National Association with each party to bear its own attorneys’ fees and
21   costs. The Clerk shall close the file.
22                               25th
                      Done this ________          June
                                         day of _______________________ 2018.
23

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                                              ________________________________
25
                                              LUCY H. KOH
26                                            United States District Judge

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